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                                 United States Bankruptcy Court
                                               District of Nevada
                                             Case No. 09−29297−mkn
                                                   Chapter 7
In re: (Name of Debtor)
    JACQUELINE Y BROWN
    8221 HYDRA LANE
    LAS VEGAS, NV 89128
Social Security No.:
   xxx−xx−3573


                                               FINAL DECREE


The estate of the above named debtor(s) has been fully administered.



IT IS ORDERED THAT BRIAN D. SHAPIRO is discharged as trustee of the estate of the above named debtor(s).



The Chapter 7 case of the above named debtor(s) is closed.




Dated: 1/22/10                                               BY THE COURT




                                                             Mary A. Schott
                                                             Clerk of the Bankruptcy Court
